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 PROB 12C                                                                             Report Date: October 21, 2021
(6/16)

                                       United States District Court                                    FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                              Oct 21, 2021
                                        Eastern District of Washington                            SEAN F. MCAVOY, CLERK



                     Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Darryl Robinson                       Case Number: 0980 1:16CR02023-RMP-3

 Address of Offender:

 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, Senior U.S. District Judge

 Date of Original Sentence: March 22, 2017

 Original Offense:            Conspiracy to Distribute Methamphetamine, 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)
                              and 846

 Original Sentence:           Prison - 120 months        Type of Supervision: Supervised Release
                              TSR - 60 months

 Compassionate Release:       Prison - Time served
 August 5, 2020               TSR - 60 months

 Revocation Sentence:         Prison - 6 months
 August 3, 2021               TSR - 54 months

 Asst. U.S. Attorney:         Matthew Alan Stone         Date Supervision Commenced: August 3, 2021

 Defense Attorney:            Paul E Shelton             Date Supervision Expires: February 2, 2026
                              Colin G Prince


                                         PETITIONING THE COURT

To have the offender appear before the Court.

The probation officer believes that the offender has violated the following order of the Court:


Violation Number        Nature of Noncompliance

            1           Order of the Court: The defendant shall surrender to the United States Marshals (USM) for
                        this district at 3 p.m. on August 3, 2021.

                        Supporting Evidence: Mr. Robinson is alleged to have failed to follow the order of the Court
                        by not surrendering to the USM on August 3, 2021, at 3 p.m., as directed during his
                        supervised release revocation hearing.

                        On August 3, 2021, at 11:30 a.m. Mr. Robinson participated in a virtual supervised release
                        revocation hearing. The Court found Mr. Robinson in violation of his supervised release,
                        revoked his supervised release and sentenced him to 6 months confinement with 54 months of
                        supervised release to follow. At the conclusion of the hearing, the Court directed Mr.
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                      Robinson to surrender to the probation office on August 3, 2021, at 3 p.m. so he could be
                      taken into custody by the USM.

                      On August 3, 2021, at 1:30 p.m. Mr. Robinson sent this officer the following text messages:
                      “let me just say Phil never a f***** again I’m done them f***** are going to kill me as soon
                      as I hit the f***** yard thanks good luck.”

                      “You know here like I got a ride to make a demand but you know what you want me to turn
                      myself in fine then you guarantee that I go to Sheridan in writing I’ll turn myself in if not f***
                      it I’m not going to put myself in the situation to get killed.”

                      On August 4, 2021, this officer spoke with the USM and was informed that Mr. Robinson
                      failed to report on August 3, 2021, at 3 p.m. or any time after to self-surrender. Due to Mr.
                      Robinson failing to self-surrender as directed, the Court issued a warrant on August 4, 2021.

                      Mr. Robinson was on abscond status from August 3, 2021, until he was arrested by the USM
                      on October 20, 2021.

The U.S. Probation Office respectfully recommends the defendant appear before the Court to answer to the failure to
comply with the order of the Court.

                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                             Executed on:      October 21, 2021

                                                                               s/Phil Casey

                                                                               Phil Casey
                                                                               U.S. Probation Officer



 THE COURT ORDERS
 [ ] No Action
 [    The Issuance of a Warrant
 [ ] The Issuance of a Summons
 [ ] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
 [ ] Defendant to appear before the Judge assigned to the
      case.
 [X ] Defendant to appear before the Magistrate Judge.
 [ ] Other
                                                                               Signature of Judicial Officer

                                                                                          10/21/2021
                                                                               Date
